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   6   Attorneys for Defendants
       CITY OF EL MONTE, STEVEN SCHUSTER,VICTOR RUIZ
   7   and JESUS ROJAS (improperly sued as Javier Rojas)
   8
                             UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
  11
       KHANG LE and GIAO DANG,              )        No. CV14-04579 SJO (SSx)
  12   Successors in Interest and           )
       Individually; TUAN LE and DIANE      )        Hon. S. James Otero
  13   LE,                                  )
                                            )        SEPARATE STATEMENT OF
  14                      Plaintiffs,       )        UNDISPUTED MATERIAL
                                            )        FACTS IN SUPPORT OF
  15   vs.                                  )        DEFENDANTS’ MOTION FOR
                                            )        PARTIAL SUMMARY
  16   CITY OF EL MONTE; STEVEN             )        JUDGMENT;
       SCHUSTER, Chief of Police            )
  17   Individually and as a peace officer, )
       OFFICER VICTOR RUIZ; OFFICER )                      [FRCP Rule 56]
  18   JAVIER ROJAS and DOES 1              )
       through 10, Inclusive,               )
  19                                        )        Date      : March 2, 2015
                          Defendants.       )        Time      : 10:00 a.m.
  20   ______________________________ )              Courtroom : 1 - 2nd Floor
  21
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  23
             Defendants, in support of their motion for partial summary judgment,
  24
       submit that the following material facts are undisputed in this action:
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  27
       ///
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                                                 1
              SEPARATE STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF
                          MOTION FOR PARTIAL SUMMARY JUDGMENT
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   1        ISSUE NO. 1 – CITY OF EL MONTE IS ENTITLED TO JUDGMENT
   2   AS A MATTER OF LAW AS TO PLAINTIFFS’ SECOND CAUSE OF
       ACTION FOR MONELL VIOLATIONS BECAUSE THERE IS NO POLICY
   3   TO VIOLATE THE CIVIL RIGHTS OF PERSONS AND PLAINTIFFS
   4   HAVE FAILED TO ALLEGE A VALID MONELL CLAIM
   5
   6      Moving Party’s Undisputed Facts              Supporting Evidence
        1. The City of El Monte, including the Exhibit 1, ¶8
   7
        El Monte Police Department, does not
   8    maintain any official policy, rule,
   9    custom or usage approved by an
        official body of the City of El Monte to
  10
        deprive persons of their rights as
  11    described in Paragraph 43 and 44 of
  12    Plaintiffs’ First Amended Complaint.
  13
        2. There is no policy of the City of El Exhibit 1, ¶8
  14    Monte, including the El Monte Police
  15    Department, to deprive persons of their
  16    rights as described in Paragraph 43 and
        44 of Plaintiffs’ First Amended
  17    Complaint.
  18
  19    3. The City of El Monte, including the Exhibit 1, ¶¶8-9
        El Monte Police Department, does not
  20
        maintain any policy of failing to
  21    properly hire, train, instruct, monitor,
  22    supervise, evaluate, investigate or
        discipline its employees.
  23
  24    4. The City of El Monte’s policy is to Exhibit 1, ¶9
  25    provide adequate and proper training to
  26
        El Monte Police Officers.

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              SEPARATE STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF
                        MOTION FOR PARTIAL SUMMARY JUDGMENT
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   1   DATED: January 28, 2015       FERGUSON, PRAET & SHERMAN, APC
   2
   3                                 /s/ Allen Christiansen
   4                                 Allen Christiansen SBN 263651
   5                                 Attorneys for Defendant City of El Monte, Steven
   6                                 Schuster, Ofc. Victor Ruiz and Ofc. Jesus Rojas
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              SEPARATE STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF
                        MOTION FOR PARTIAL SUMMARY JUDGMENT
